Case 2:19-cv-07934-DMG-SS Document 43 Filed 07/16/21 Page 1 of 10 Page ID #:723




                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
                                     CIVIL MINUTES—GENERAL

 Case No.        CV 19-7934-DMG (SSx)                                             Date       July 16, 2021

 Title Arya Toufanian v. Kyle Oreffice et al.                                                     Page    1 of 10

 Present: The Honorable           DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                  KANE TIEN                                                      NOT REPORTED
                  Deputy Clerk                                                    Court Reporter

    Attorneys Present for Plaintiff(s)                                  Attorneys Present for Defendant(s)
             None Present                                                         None Present

 Proceedings: IN CHAMBERS—ORDER RE DEFENDANTS’ MOTION TO DISMISS
              [37]

         On September 12, 2019, Plaintiff Arya Toufanian filed a Complaint against Defendants
 Kyle Oreffice and Give Back Media, LLC (“GBM”) [Doc. # 1], and on October 15, 2020,
 Toufanian filed his First Amended Complaint (“FAC”) asserting the following causes of action:
 (1) libel per se; (2) libel per quod; and (3) violation of California’s Unfair Competition Law
 (“UCL”) [Doc. # 33].

        Oreffice and GBM filed a Motion to Dismiss (“MTD”) pursuant to Federal Rule of Civil
 Procedure 12(b)(6) on October 29, 2020. [Doc. #37.] The MTD has since been fully briefed.
 [Doc. ## 38, 40.] For the reasons set forth below, the Court GRANTS in part and DENIES in
 part the MTD.

                                                     I.
                                              JUDICIAL NOTICE

        In support of its MTD, Defendants request that the Court take judicial notice of several
 materials, including websites purporting to contain biographical information about Toufanian,
 news articles in which Toufanian and his activities are discussed, and screen captures of his
 social media pages. Request for Judicial Notice (“RJN”) at 4-5 [Doc. # 37-2].1 Generally, on a
 Rule 12(b)(6) motion to dismiss, the court may not consider any information outside the
 pleadings. See U.S. v. Corinthian Colleges, 655 F.3d 984, 998-99 (9th Cir. 2011) (citation
 omitted). But Federal Rule of Evidence 201 permits the court to take judicial notice of facts that
 “can be accurately and readily determined from sources whose accuracy cannot be reasonably be
 questioned. Fed. R. Evid. 201(b). In addition, a court may consider a document not attached to
 the complaint as incorporated by reference if “(1) the complaint refers to the document; (2) the
 document is central to the plaintiff’s claim; and (3) no party questions the authenticity of the

         1
             All page references herein are to page numbers inserted by the CM/ECF system.

 CV-90                                    CIVIL MINUTES—GENERAL                          Initials of Deputy Clerk KT
Case 2:19-cv-07934-DMG-SS Document 43 Filed 07/16/21 Page 2 of 10 Page ID #:724




                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
                                     CIVIL MINUTES—GENERAL

 Case No.        CV 19-7934-DMG (SSx)                                               Date     July 16, 2021

 Title Arya Toufanian v. Kyle Oreffice et al.                                                      Page     2 of 10

 document.” Corinthian Colleges, 655 F.3d at 989-989; see also United States v. Ritchie, 342
 F.3d 903, 908 (9th Cir. 2003).

         The Court GRANTS Defendants’ request to judicially notice screenshots of various
 websites’ biographical entries on Toufanian and several news articles in The New York Times,
 Huffington Post, and Business Insider about Toufanian, as indicia of what existed in the public
 realm at the time, but not for the truth of any matter asserted. RJN, Ex. 1–8 [Doc. ## 37-3–37-
 10]; see Von Saher v. Norton Simon Museum of Art at Pasadena, 592 F.3d 954, 960 (9th Cir.
 2010) (noticing Tweets and news articles as proof of what existed in the public realm). The
 November 6, 2019 New York Times article about Toufanian, titled “Thousands of College Kids
 Paid to Work for a Viral Party Kingpin. What Could Go Wrong?” is also incorporated by
 reference in the FAC and is key to Toufanian’s unfair competition claim. RJN, Ex. 7 [Doc. # 37-
 9]. Because Defendants have not provided any authority by which the Court may judicially
 notice the number of followers of a social media account from screenshots of those accounts, the
 Court DENIES Defendants’ request to notice screenshots of Toufanian’s various social media
 accounts under Rule 201(b). RJN, Ex. 9 [Doc. # 37-11].

                                                  II.
                                         FACTUAL BACKGROUND2

        Toufanian is a California citizen engaged in the business of providing stock trading
 information to individual and business customers, including online through his Instagram page,
 @sensastocks. FAC at ¶¶ 1, 10. Defendant Oreffice is a Georgia citizen and the owner,
 manager, and executive officer of Defendant GBM. Id. at ¶ 5. Defendants are “in the business
 of providing information relating to the purchase and sale of equities” via the website they own
 and operate, www.quantumstocktrading.com (the “Website”). Id. at ¶ 11. Toufanian alleges that
 because Defendants target the same customers for similar services through the same online
 medium, the parties are business competitors. Id. at ¶ 4.

        Toufanian alleges that on or around July 10, 2019, Defendants called Toufanian a
 “scammer” and “The Douche of Wall Street” on the Website and social media. See id. at ¶¶ 10–
 11, 13–14. Some excerpts of the blog post on the Website entitled “The Douche of Wall Street:
 How Arya Toufanian Scams Innocent Investors” include:

               “The owner of I’m Shmacked, Arya Toufanian, is certainly proficient at taking
                money from people over the internet through elaborate, hyped-up schemes”;

         2
             The Court assumes the truth of the FAC’s factual allegations solely for the purpose of deciding the MTD.

 CV-90                                     CIVIL MINUTES—GENERAL                           Initials of Deputy Clerk KT
Case 2:19-cv-07934-DMG-SS Document 43 Filed 07/16/21 Page 3 of 10 Page ID #:725




                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES—GENERAL

 Case No.     CV 19-7934-DMG (SSx)                                     Date     July 16, 2021

 Title Arya Toufanian v. Kyle Oreffice et al.                                         Page     3 of 10

            “Furthermore, he [Plaintiff] has stolen content from free Discord servers and posted it
             in his paid Discord. The real icing on the cake, however, is the fact that he claims
             these are onetime charges – which numerous, numerous members have verified to be
             entirely false”;
            “Not only did Arya scam his ‘students’ by charging them thousands to set up a
             Shopify store (something anyone can do for free in less than 5 minutes), he went a
             step further by creating a pyramid scheme of scams in which his students
             (unbeknownst to them) were effectively scamming even more people!”
            “Thinking like a real scammer, Arya decided to enter into the stock advice space with
             his @aryastocks program (formerly @stocks), in which he uses the influence of his
             I’m Shmacked account to pedal [sic] his ‘exclusive’ stock advice. The story of these
             scammy trading servers is long and illustrious. We owe it to the public to expose
             these elaborate schemes such as this, and have created our program Quantum Stocks
             with the goal of providing real, time-relevant, valuable trading information to our
             members. Arya is currently charging brand-new, unsuspecting investors up to $500
             (previously up to $1000+) for access to a Discord [online communications] server
             with virtually zero activity, with promises of stock scanners and helpful admins that
             are virtually non-existent. Each package, regardless of price, gets you access to the
             same chat room… yep, you read that right: the $500 package is IDENTICAL to the
             $60 option. Furthermore, he has stolen content from free Discord servers and posted
             it in his paid Discord. The real icing on the cake, however, is the fact that he claims
             these are one-time charges – which numerous, numerous members have verified to be
             entirely false, proving that Arya is unresponsive to even the most basic of
             skepticisms.”

 Id. at ¶ 13; see also FAC, Ex. A. The article goes on to advertise Defendants’ investor education
 services. FAC, Ex. A. The site remains active and is accessible to the public throughout the
 United States, including in California where Toufanian operates. FAC at ¶ 15. Toufanian is
 aware of friends, acquaintances, customers, and likely customers who have been exposed to or
 read the statements in the “Douche of Wall Street” blog post. Id. at ¶ 17. Defendants also
 advertised the blog post to Defendants’ followers on Facebook and Instagram and directly
 reached out to Toufanian’s followers and customers through Instagram. Id. at ¶¶ 19-22. In
 addition, in 2019 or 2020, Oreffice, via his Instagram handle @MalibuDogHotels, reported
 Toufanian’s Instagram handle @ImShmacked for harassment and bullying. Id. at ¶ 20.

        Defendants also provided information about Toufanian’s alleged scams to The New York
 Times, which published an article referring to the instant lawsuit against Oreffice on November
 9, 2019, entitled “Thousands of College Kids Paid to Work for a Viral Party Kingpin. What

 CV-90                              CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk KT
Case 2:19-cv-07934-DMG-SS Document 43 Filed 07/16/21 Page 4 of 10 Page ID #:726




                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                    CIVIL MINUTES—GENERAL

 Case No.       CV 19-7934-DMG (SSx)                                                Date     July 16, 2021

 Title Arya Toufanian v. Kyle Oreffice et al.                                                      Page     4 of 10

 Could Go Wrong?” FAC at ¶ 69; RJN, Ex. 7. The article, published two months after the
 Complaint was filed and incorporated by reference in the FAC, discusses Toufanian’s time as the
 chief executive of a digital media company called I’m Shmacked and allegations that he misled
 numerous college students into paying for his services. RJN, Ex. 7. As a result of Defendants’
 statements and the New York Times article, Instagram closed Toufanian’s account, resulting in a
 loss to him of roughly $1,000 dollars a day in revenue. FAC at ¶ 69.

         Toufanian alleges that all of Defendants’ statements regarding his business activities are
 false and that Defendants knew they were false and lacked evidentiary support, at the time of
 publication. Id. at ¶¶ 31, 51, 54. Many of Toufanian’s customers or would-be-customers
 contacted him to say that they would no longer retain his services after they learned of or read
 Defendants’ blog post. Id. at ¶¶ 55, 66.

         Defendants now move to dismiss Toufanian’s defamation and UCL claims for failure to
 state a claim under Federal Rule of Civil Procedure 12(b)(6).3

                                                   III.
                                             LEGAL STANDARD

         Federal Rule of Civil Procedure 12(b)(6) states that a defendant may seek dismissal of a
 complaint for failure to state a claim upon which relief can be granted. Fed. R. Civ. P. 12(b)(6).
 A court may grant such a dismissal only where the plaintiff fails to present a cognizable legal
 theory or fails to allege sufficient facts to support a cognizable legal theory. Shroyer v. New
 Cingular Wireless Servs., Inc., 622 F.3d 1035, 1041 (9th Cir. 2010) (quoting Navarro v. Block,
 250 F.3d 729, 732 (9th Cir. 2001)). On a motion to dismiss, a court may consider documents
 attached to the complaint, documents incorporated by reference in a complaint, or documents
 subject to judicial notice. U.S. v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003). To survive a Rule
 12(b)(6) motion, a complaint must articulate "enough facts to state a claim to relief that is
 plausible on its face." Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955, 167 L.
 Ed. 2d 929 (2007). "A claim has facial plausibility when the plaintiff pleads factual content that
 allows the court to draw the reasonable inference that the defendant is liable for the misconduct
 alleged." Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009) (citing
 Twombly, 550 U.S. at 556). In evaluating the sufficiency of a complaint, courts must accept all

           3
             Toufanian argues that Defendants’ MTD should be denied for failure to meet and confer in violation of
 Local Rule 7-3. Although the parties met and conferred prior to the filing of the FAC, they did not confer again
 prior to the filing of the instant MTD. Although this constitutes a violation of Local Rule 7-3, the Court declines to
 deny this fully-briefed motion on that basis, in the interest of efficiency. The Court admonishes Defendants,
 however, that future violations of the Local Rules may result in the imposition of sanctions.

 CV-90                                    CIVIL MINUTES—GENERAL                            Initials of Deputy Clerk KT
Case 2:19-cv-07934-DMG-SS Document 43 Filed 07/16/21 Page 5 of 10 Page ID #:727




                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES—GENERAL

 Case No.     CV 19-7934-DMG (SSx)                                      Date     July 16, 2021

 Title Arya Toufanian v. Kyle Oreffice et al.                                          Page     5 of 10

 factual allegations as true. Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 555). Legal
 conclusions, in contrast, are not entitled to the assumption of truth. Id.

          Should a court dismiss certain claims, “[l]eave to amend should be granted unless the
 district court ‘determines that the pleading could not possibly be cured by the allegation of other
 facts.’” Knappenberger v. City of Phoenix, 566 F.3d 936, 942 (9th Cir. 2009) (quoting Lopez v.
 Smith, 203 F.3d 1122, 1127 (9th Cir. 2000) (en banc)).

                                               IV.
                                           DISCUSSION

 A.      Defamation

         To state a claim for defamation in California a plaintiff must allege: (1) a publication that
 is (2) false, (3) defamatory, (4) unprivileged, and that (5) has a natural tendency to injure or
 causes special damage. Taus v. Loftus, 40 Cal. 4th 683, 720 (2007). Defendants argue that the
 FAC fails to allege the actual malice required for defamation when the plaintiff is a public figure,
 and that its statements are nonactionable statements of opinion.

                1.      Public figure

         When the plaintiff in a defamation suit is a public figure, the plaintiff must show by clear
 and convincing evidence that the statements were made with “actual malice,” meaning
 knowledge by the defendant that the statements were false or with reckless disregard for the
 truth. Gertz v. Robert Welch, 418 U.S. 323, 328 (1974); Makaeff v. Trump Univ., Ltd. Liab. Co.,
 715 F.3d 254, 265 (9th Cir. 2013). The heightened actual malice standard recognizes that the
 First Amendment requires some protection of falsehood in order to protect “speech that matters”
 on issues of public concern, while at the same time considering the need to protect reputational
 interests. Gertz, 418 U.S. at 340-341, 349. Whether a person is a public figure is a question of
 law for the Court to decide. Khawar v. Globe Internat., 19 Cal. 4th 254, 264 (1998). Courts
 within the Ninth Circuit and elsewhere have agreed that it is acceptable to determine this
 question at the motion to dismiss stage. See Resolute Forest Prods. v. Greenpeace Int'l, 302 F.
 Supp. 3d 1005, 1016-17 (N.D. Cal. 2017) (finding in a Rule 12(b)(6) motion to dismiss that the
 plaintiff was a limited purpose public figure); Biro v. Condé Nast, 963 F. Supp. 2d 255, 270
 (S.D.N.Y.302 F. Supp. 3d at 1017 2013) (same). At the pleading stage, a determination of
 whether a plaintiff is a public figure is made from allegations in the complaint itself or from
 documents properly noticed. Biro, 963 F. Supp. 2d at 270, 271 n.9.


 CV-90                              CIVIL MINUTES—GENERAL                      Initials of Deputy Clerk KT
Case 2:19-cv-07934-DMG-SS Document 43 Filed 07/16/21 Page 6 of 10 Page ID #:728




                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                               CIVIL MINUTES—GENERAL

 Case No.    CV 19-7934-DMG (SSx)                                     Date     July 16, 2021

 Title Arya Toufanian v. Kyle Oreffice et al.                                        Page     6 of 10

          There are two types of public figures: (1) all-purpose public figures, and (2) limited-
 purpose public figures. The former are those individuals who occupy positions “of such
 persuasive power and influence that they are deemed public figures for all purposes.” Gertz, 418
 U.S. at 345. To show that Toufanian is an all-purpose public figure, Defendants point to the
 existence of various articles about Toufanian on the Internet; the FAC’s allegation that he owns
 several businesses, including at least one based on Instagram; and the 2019 New York Times
 article incorporated by reference in the FAC that describes Toufanian’s digital media company
 and its financial and legal woes. The Court cannot conclude on this record that Toufanian has
 such “general fame or notoriety” or “pervasive involvement in the affairs of society” that he may
 be deemed an all-purpose public figure. Id. at 352; see also Makaeff 715 F.3d at 265.

         Limited-purpose public figures, by contrast, are those who thrust themselves to the
 forefront of a public controversy in order to influence its resolution. Makaeff 715 F.3d at 265.
 California law articulates three elements for a plaintiff to be deemed a limited purpose public
 figure. First, there must be a public controversy by which an issue was debated publicly and had
 foreseeable substantial ramifications for the public. Second, the plaintiff must have voluntarily
 interjected and sought to influence the issue. Finally, the defamatory statement must be
 “germane” to the plaintiff’s voluntary participation in the controversy. Ampex Corp. v. Cargle,
 128 Cal. App. 4th 1569, 1577 (2005). Toufanian’s FAC alleges only that he owned stock trading
 information services. FAC at ¶ 10. He also alleges that Defendants reached out to the New York
 Times to identify Toufanian as “directly engaged” in “orchestrating fraudulent activities and
 business scams.” Id. at ¶ 69. The New York Times article published on November 6, 2019,
 briefly refers to Toufanian’s stock schemes, but is primarily about Toufanian’s other business
 focused on college parties, “I’m Schmacked.” These facts are not sufficient to establish at the
 pleading stage that Toufanian took “affirmative actions” to inject himself into an existing public
 controversy. See Reader’s Digest Ass'n v. Superior Court, 37 Cal. 3d 244, 254 (1984) (holding
 that a person is not a public figure solely because he “happens to be involved in a controversy
 that is newsworthy”). For example, in Resolute Forest Products, the court determined at the
 pleadings stage that, because the specific forestry practices at issue were a matter of public
 concern, based on the plaintiff’s own allegations about the reach and influence of its forestry
 operation and the “public nature” of its work, the company was a limited-purpose public figure
 for purposes of its participation in the forestry industry. 302 F. Supp. 3d 1005, 1017 (N.D. Cal.
 2017). But “merely participating in a business venture that is subject to allegedly defamatory
 criticism does not meet the requirement for voluntarily participating in a controversy.” Hu &
 Assocs., LLC v. New Life Senior Wellness Ctr., LLC, No. CV 16-03078-JAK (MRWx), 2017 WL
 10591754, at *17 (C.D. Cal. July 7, 2017) (citing Carver v. Bonds, 135 Cal. App. 4th 328
 (2005)). There is no evidence at this juncture that Toufanian engaged in “large scale, aggressive
 advertising” such that a reasonable inference can be drawn that he injected himself into a public

 CV-90                             CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk KT
Case 2:19-cv-07934-DMG-SS Document 43 Filed 07/16/21 Page 7 of 10 Page ID #:729




                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                               CIVIL MINUTES—GENERAL

 Case No.    CV 19-7934-DMG (SSx)                                     Date     July 16, 2021

 Title Arya Toufanian v. Kyle Oreffice et al.                                        Page     7 of 10

 controversy arising from such advertising. Makaeff, 715 F.3d at 267. Thus, the Court cannot
 determine on the pleadings that Toufanian is a limited-purpose public figure.

       Accordingly, the Court need not address whether actual malice was properly pleaded in
 the FAC.

                2.     Nonactionable opinion

         To survive a motion to dismiss in the defamation context, a plaintiff must allege facts to
 show that the supposedly defamatory statement is a factual assertion and not “mere comment
 within the ambit of the First Amendment.” Troy Grp., Inc. v. Tilson, 364 F. Supp. 2d 1149, 1152
 (C.D. Cal. 2005) (quoting Knievel v. ESPN, 393 F.3d 1068, 1073-74 (9th Cir. 2005)).
 Statements of opinion are not actionable as defamatory unless they “imply a false assertion of
 fact.” Milkovich v. Lorain Journal Co., 497 U.S. 1, 19 (1990). Even a statement couched as
 opinion, however, may be defamatory if it creates a factual implication. Id.

         Under California law, whether a statement is a factual assertion, or a non-actionable
 opinion, is a question of law for the court to decide, and may be decided at the pleading state.
 Troy Grp., 364 F. Supp. 2d at 1158; Wynn v. Chanos, 75 F. Supp. 3d 1228, 1236-37 (N.D. Cal.
 2014). Statements of opinion are formed when the writer discloses all facts behind the opinion
 and does not imply other unstated facts, thus allowing listeners to understand that the statement
 is an opinion. Id. Statements of opinion are also “broad, unfocused, and wholly subjective.” Id.
 Courts applying California law must employ a totality of the circumstances test to determine
 whether a statement is “susceptible of a defamatory meaning.” Baker v. L.A. Herald Exam’r, 42
 Cal. 3d 254, 261 (1986). First, the language of the statement must be reasonably understood in a
 defamatory sense as a statement of fact. Second, the context of the statement must be
 considered, including “the full content of the communication” and the knowledge of the
 audience. Id. Third, courts examine whether the statements are capable of being proved true or
 false. See Wynn, 75 F. Supp. 3d at 1238.

         The totality of the circumstances here indicates that numerous statements in Defendants’
 blog post constitute statements of fact susceptible to defamatory meaning. Assertions that
 Toufanian has “stolen content,” “onetime charges – which numerous, numerous members have
 verified to be entirely false,” “scam[med] his ‘students,’” and “creat[ed] a pyramid scheme,” are
 susceptible to defamatory meaning by accusing Toufanian of illegal conduct, and are also
 capable of being proven true or false by examination of the allegedly stolen content, recurring
 charges, and overall business scheme. See FAC at ¶ 13; Opp. at 14-15. As for the context of the
 statements as a whole, the “Douche of Wall Street” blog post refers to Defendants’ site Quantum

 CV-90                             CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk KT
Case 2:19-cv-07934-DMG-SS Document 43 Filed 07/16/21 Page 8 of 10 Page ID #:730




                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES—GENERAL

 Case No.     CV 19-7934-DMG (SSx)                                      Date     July 16, 2021

 Title Arya Toufanian v. Kyle Oreffice et al.                                          Page     8 of 10

 Stocks as a “trusted source for education,” with a “duty since day one to provide our members
 with quality information.” FAC, Ex. 1. The blog posts goes on to state, “We are tired of seeing
 innocent victims get scammed by Arya Toufanian, and will not stop spreading awareness to the
 matter until he is unable to scam again.” Id. While some aspects of the blog posts may be
 hyperbolic, the text overall portrays Quantum Stocks—a competitor stock trading information
 service—as a knowledgeable source of information exposing the truth about Toufanian. A
 reasonable reader could therefore conclude that Defendants were asserting facts, not merely their
 opinion.

         The blog post’s formal context and earnest tone are distinguishable from those in Global
 Telemedia International, Inc. v. Doe 1, 132 F. Supp. 2d 1261, (C.D. Cal. 2001), and
 ComputerXpress, Inc. v. Jackson, 93 Cal. App. 4th 993 (2001), which involved allegedly libelous
 statements posted by individuals on internet message boards that were “full of hyperbole,
 invective, short-hand phrases and language not generally found in fact-based documents,” and
 therefore constituted nonactionable opinions. Glob. Telemedia Int’l, Inc., 132 F. Supp. 2d at
 1267. Moreover, statements like “[w]hen the people who have . . . been duped into this stock
 realize the scam they were coaxed into, my guess is there will be hell to pay,” contained explicit
 statements of opinion such as “my guess is.” ComputerXpress, 93 Cal. App. 4th at 1013. The
 context is also distinguishable from those made in Wynn v. Chanos, 75 F. Supp. 3d 1228 (N.D.
 Cal. 2014), where the defendant, a financial investor, made statements that he was concerned
 “about the risk [he] was taking with clients’ money” by investing in the plaintiff’s company,
 which had investments in Macau, because “[a]lmost any company doing meaningful amounts of
 business in China probably could be found in violation of FCPA [Foreign Corrupt Practices
 Act].” Id. at 1236. Importantly, the defendant did not explicitly state or imply that the plaintiff’s
 company was in violation of the FCPA, and he qualified his statement by saying that all
 companies in Macau engaged in “legal fraud.” Id. His expression of concern could not also be
 demonstrably proven false. Accordingly, the court found that the context supported a finding
 that the defendant’s statements were his opinion. Id. at 1237.

         Toufanian has sufficiently alleged the publication of numerous purportedly false,
 defamatory, unprivileged statements in the “Douche of Wall Street” blog post. But neither party
 discusses the distinction between Toufanian’s claim for libel per se, which requires only the
 statements to have a natural tendency to injure, and his claim for libel per quod, which requires
 allegations of special damages. See Cal. Civ. Code § 45a; Barnes-Hind, Inc. v. Superior Ct., 181
 Cal. App. 3d 377, 382 (Ct. App. 1986). The Court concludes that the statements at issue have a
 natural tendency to injure, and the FAC sufficiently alleges that Toufanian suffered damages to
 his “business, trade, profession, or occupation, including the amounts of money the plaintiff
 alleges and proves he or she has expended as a result of the alleged libel.” Cal. Civ. Code § 48a.

 CV-90                              CIVIL MINUTES—GENERAL                      Initials of Deputy Clerk KT
Case 2:19-cv-07934-DMG-SS Document 43 Filed 07/16/21 Page 9 of 10 Page ID #:731




                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                               CIVIL MINUTES—GENERAL

 Case No.    CV 19-7934-DMG (SSx)                                     Date     July 16, 2021

 Title Arya Toufanian v. Kyle Oreffice et al.                                        Page     9 of 10

         The Court therefore DENIES the MTD as to both libel claims based on Defendant’s
 “Douche of Wall Street” blog post. But because Toufanian does not oppose dismissal of any
 libel claim based on Defendant’s statements to Instagram from the handle @MalibuDogHotels,
 the Court GRANTS, without leave to amend, the MTD as to both libel claims to the extent they
 are based on such statements. See MTD at 17-18; FAC at ¶¶ 20-25; Pecover v. Elec. Arts Inc.,
 633 F. Supp. 2d 976, 984 (N.D. Cal. 2009) (“[P]laintiffs have effectively conceded, by failing to
 address the issue in their opposition memorandum.”).

 B.      Unfair competition

         The UCL prohibits “unfair competition,” which is defined as “any unlawful, unfair, or
 fraudulent business act or practice.” Cal. Bus. & Prof. Code § 17200. A cause of action brought
 under the “unlawful” prong of the UCL incorporates other laws and treats violations of those
 laws as unlawful business practices independently actionable under state law. Chabner v. United
 Omaha Life Ins. Co., 225 F.3d 1042, 1048 (9th Cir. 2000). An “unfair” business practice “is one
 that either offends an established public policy or is immoral, unethical, oppressive,
 unscrupulous or substantially injurious to consumers.” McDonald v. Coldwell Banker, 543 F.3d
 498, 506 (9th Cir. 2008) (citation and quotation marks omitted). A business practice is
 “fraudulent” if “members of the public are likely to be deceived.” Comm. on Children’s
 Television v. Gen. Foods Corp., 35 Cal. 3d 197, 211 (1983). When a UCL claim derives from
 other substantive causes of action, the claim “stand[s] or fall[s]” with the substantive causes of
 action. Krantz v. BT Visual Images, 89 Cal. App. 4th 164, 178 (2001).

         Toufanian predicates his unfair competition law claim on allegations that Defendants
 published their statements about him on Quantumstocktrading.com and elsewhere for the
 purpose of driving customers away from Toufanian’s services and toward Defendants’
 competing stock trading information platforms. Furthermore, Toufanian argues that Defendants
 contacted The New York Times and Instagram and communicated the same statements directly to
 them. As a result of these statements, Instagram shut down Toufanian’s account and denied him
 “access to customers and a source of revenue on Instagram.” FAC at ¶ 69. Toufanian also
 alleges that Defendants communicated directly with his Instagram followers warning them not to
 purchase his services and advertising their own, and that after Defendants’ blog post publication,
 numerous individuals contacted Toufanian to let them know they were no longer interested in
 purchasing his program. Id. at ¶¶ 19, 55, 67.

        To the extent the UCL claim under the unlawful prong is predicated on Toufanian’s
 defamation claims, that UCL claim may proceed. See Hawran v. Hixson, 209 Cal. App. 4th 256,
 277 (2012) (noting that a UCL claim may be premised on defamation). To the extent the UCL

 CV-90                             CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk KT
Case 2:19-cv-07934-DMG-SS Document 43 Filed 07/16/21 Page 10 of 10 Page ID #:732




                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES—GENERAL

  Case No.    CV 19-7934-DMG (SSx)                                     Date     July 16, 2021

  Title Arya Toufanian v. Kyle Oreffice et al.                                        Page     10 of 10

  claim is based on Defendants’ alleged actions in causing Instagram to shut down Toufanian’s
  Instagram account, Toufanian does not allege sufficient detail to satisfy the pleading standards as
  to which of Toufanian’s several Instagram accounts was shut down in light of the New York
  Times article. The article refers to the shutdown of the @imshmacked account, but not of
  @stocks and Toufanian’s personal account, and does not refer to @sensastocks. See FAC, Ex. 9.
  The Opposition also does not make clear that Toufanian intends to proceed with any UCL claim
  besides that premised on his defamation claims. See Opp. at 16-17.

           Accordingly, the Court DISMISSES, with leave to amend, the UCL claim to the extent
  it is premised on any unlawful, unfair, or fraudulent act besides defamation, and DENIES the
  MTD with respect to the UCL claim premised on the unlawful act of defamation.

                                              V.
                                          CONCLUSION

         In light of the foregoing, the Court GRANTS in part and DENIES in part Defendants’
  MTD. Toufanian’s libel per se and libel per quod claims based on Instagram posts from the
  @MalibuDogHotel handle are DISMISSED, without leave to amend, and his UCL claim based
  on any act besides defamation is DISMISSED, with leave to amend. His libel and UCL claims
  based on the allegedly defamatory “Douche of Wall Street” blog post survive.

         Toufanian shall file his Second Amended Complaint, or inform the Court and Defendants
  that he does not intend to amend the FAC, within 21 days after the date of this Order.
  Defendants shall file their response within 21 days after Toufanian files and serves his Second
  Amended Complaint, or they are notified of his intent to proceed on the FAC.


  IT IS SO ORDERED.




  CV-90                             CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk KT
